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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

                                            Case No. 1:21-CV-05055
RACHEL MANISCALCO, EVELYN
ARANCIO, DIANA SALOMON, and                 NOTICE OF APPEAL
CORINNE LYNCH, individually, and for all
others similarly situated,

                              Plaintiffs,

               -against–


THE NEW YORK CITY DEPARTMENT
OF EDUCATION, MEISHA PORTER,
SCHOOLS CHANCELLOR OF THE
NEW YORK CITY DEPARTMENT OF
EDUCATION, IN HER OFFICIAL
CAPACITY, THE CITY OF NEW YORK,
BILL de BLASIO, MAYOR OF NEW
YORK CITY, IN HIS OFFICIAL
CAPACITY, DEPARTMENT OF
HEALTH AND MENTAL HYGIENE, and
DAVE A. CHOKSHI, COMMISSIONER
OF THE DEPARTMENT OF HEALTH
AND MENTAL HYGIENE, IN HIS
OFFICIAL CAPACITY

                              Defendants.
       Notice is hereby given that Plaintiffs Rachel Maniscalco, Evelyn Arancio, Diana

Salomon, and Corinne Lynch hereby appeal to the United States Court of Appeals for the Second

Circuit from the Memorandum Decision and Order (Dkt. No. 16) entered on September 23,

2021, and all opinions and orders that merge therein.



Dated: New York, New York
       September 23, 2021

                                                    s/ Mark J. Fonte
                                                By:_____________________________
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